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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Newport News Division


RONALD W. WALDEN, JR.,                            )
                                                  )
        Plaintiff,                                )     Civil Action No: 4:1 8-cv-___________
                                                                                       9
                                                  )
        v.                                        )
                                                  )
TODD SHOPPING CENTER, L.L.C.,                     )
a Virginia Limited Liability Company,             )
                                                  )
        Defendant.                                )
                                                  )



                                            COMPLAINT


        Plaintiff, Ronald W. Walden, Jr., by and through his undersigned counsel, hereby files

this Complaint against TODD SHOPPING CENTER, L.L.C., a Virginia limited liability

company, seeking injunctive relief, attorneys’ fees and costs for violations of the Americans with

Disabilities Act, 42 U.S.C. §§ 12181, et seq., and damages for violations of the law of the

Commonwealth of Virginia. In support of his allegations, Plaintiff states as follows:

                                 JURISDICTION AND PARTIES

        1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. §§ 12181, et seq. (the “ADA.”) The Court is vested

with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343. The Court has supplemental

jurisdiction over the subject matter of all other claims pursuant to 28 U.S.C. § 1367(a).




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        2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because the

property that is the subject of this action is located in the City of Hampton, Virginia.

        3.      Plaintiff Ronald W. Walden, Jr. (“Mr. Walden”) is a resident of the

Commonwealth of Virginia.

        4.      Mr. Walden is a qualified individual with a disability as the term is defined by

and within the meaning of the ADA. Mr. Walden is diagnosed with osteogenesis imperfecta and

uses a wheelchair as his primary means of mobility.

        5.      Due to his disability, Plaintiff is substantially impaired in several major life

activities and requires a wheelchair for mobility.

        6.      Upon information and belief, TODD SHOPPING CENTER, L.L.C (“TODD

SHOPPING” or “Defendant,”) is a Virginia limited liability company and is the owner, lessor,

and/or operator of the place of public accommodation including the real property and

improvements which are the subject of this action (the “Property.”)

        7.      The Property is known as Todd Shopping Center; it is generally located at 1814

Todds Lane, Hampton, VA 23666.

        8.      The Defendant is registered to conduct business within the Commonwealth of

Virginia through the Virginia State Corporation Commission and maintains a registered agent in

this jurisdiction for the purpose of accepting service of process.

        9.      Defendant is responsible for complying with all applicable obligations of the

ADA.

        10.     All events giving rise to this lawsuit occurred within the jurisdiction of the

Eastern District of Virginia.
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                                        COUNT I
                            VIOLATION OF TITLE III OF THE ADA

        11.     The allegations set forth in the paragraphs above are incorporated by reference as

if fully set forth in this count.

        12.     The Property is a place of public accommodation and is therefore subject to Title

III of the ADA.

        13.     Mr. Walden visited the Property and in the near future plans to return to the

Property.

        14.     During the visit, Mr. Walden experienced serious difficulty accessing the goods

and utilizing the services on the Property due to the architectural barriers described in this

Complaint and specifically in Paragraph 17.

        15.     Mr. Walden wants to visit the Property but continues to experience serious

difficulty as the result of the barriers described below, all of which exist at the time of this filing.

        16.     Mr. Walden plans to and will visit the Property once the barriers described in

Paragraph 17 and any other barriers have been removed.

        17.     Defendant discriminated and continues to discriminate against Plaintiff in

violation of 42 U.S.C. §§ 12181, et seq., and 28 C.F.R. §§ 36.302, et seq., by excluding and/or

denying Plaintiff the benefits of the goods and services located on the Property by failing to

provide and/or correct the following barriers to access which Plaintiff personally observed,

encountered, and which hindered his access:

                A.       Plaintiff encountered and experienced inaccessible parking servicing

                         Merchant’s Tire due to lack of an access aisle;


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              B.      Plaintiff encountered and experienced inaccessible parking servicing Little

                      Caesars and Advanced Auto Parts due to excessive slopes and improper

                      placement of sewer grate in access aisle;

              C.      Plaintiff encountered and experienced inaccessible curb ramps servicing

                      Merchant’s Tire, Grand Furniture, Office Max, and Big Lots due to

                      excessive long slopes and excessively sloped side flares;

              D.      Plaintiff encountered and experienced inaccessible entrances at Big Lots,

                      Office Max, Northern Tools, Grand Furniture, and Little Caesars due to

                      lack of level landings; and

              E.      Plaintiff encountered an inaccessible counter at Merchant’s Tire due to

                      excessive height.

       18.    As of the date of this filing, the readily achievable barriers and other violations of

the ADA exist.     They have not been remedied or altered in such a way as to effectuate

compliance with the applicable provisions of the ADA.

       19.    Independent of his intent to return to the Property as a patron, Plaintiff intends to

return to the Property as an ADA tester to determine whether the barriers to access in this

Complaint have been remedied.

       20.    Removal of the barriers to access located on the Property is readily achievable,

reasonably feasible and easily accomplishable without placing an undue burden on the

Defendant.




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       21.     Removal of the barriers to access located on the Property will allow Plaintiff to

fully utilize the goods and services located on the Property.

       22.     The Plaintiff was obligated to retain the undersigned counsel for filing and

prosecution of this action. The provisions of 42 U.S.C. § 12205 entitle Plaintiff to seek from

Defendant and receive payment for reasonable attorneys’ fees, costs, and expenses of this action.

                                          COUNT II
                                      STATE LAW CLAIM

       23.     Plaintiff re-alleges and incorporates into this cause of action each and every

allegation contained in the previous paragraphs of this Complaint.

       24.     Defendant’s Property is a place of public accommodation under Code of Virginia,

§ 51.5-44.

       25.     The architectural barriers and other accessibility barriers constitute an ongoing act

of discrimination against the Plaintiff as a person with a disability in violation of Code of

Virginia, § 51.5-44.

       26.     As a direct and proximate result of Defendant’s intentional and negligent failure

to remove barriers to access that exist on Defendant’s property, Plaintiff was and continues to be

denied access and his civil rights were and continue to be violated.

       27.     Consequently, Mr. Walden seeks monetary damages from Defendant pursuant to

Code of Virginia, § 51.5-46 for the discrimination he experienced and continues to experience.

                                     PRAYER FOR RELIEF

       WHEREFORE, Ronald W. Walden, Jr. demands judgment and execution against

Defendant and requests the Court provide the following injunctive and declaratory relief:


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        A.     Declare the Property owned and administered by Defendant is in violation of the

ADA;

        B.     Enter an order directing Defendant to alter its facilities on the Property to make

them accessible to and useable by individuals with disabilities to the full extent required by Title

III of the ADA;

        C.     Enter an order directing Defendant to evaluate and neutralize its policies and

procedures toward persons with disabilities for such reasonable time so as to allow Defendant to

undertake and complete corrective procedures;

        D.     Award to the Plaintiff reasonable attorneys’ fees, costs (including expert fees),

and other expenses of this action;

        F.     Issue a Declaratory Judgment that Defendant violated the Virginia Rights of

Persons with Disabilities Act;

        G.     Order Defendant to alter the Property to make the facilities accessible to and

usable by individuals with disabilities to the extent required by the Virginia Statewide Building

Code;

        H.     Award Plaintiff monetary damages from the Defendant pursuant to Code of

Virginia § 51.5-46; and

        J.     Award Plaintiff such other additional and proper relief as may be just and

equitable.




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                                       RONALD W. WALDEN, JR.




                                       By: /s/ Deborah C. Waters
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